Case 18-10792-mkn   Doc 903-1   Entered 10/22/18 10:34:50   Page 1 of 5




                       EXHIBIT 1




                       EXHIBIT 1
              Case 18-10792-mkn   Doc 903-1   Entered 10/22/18 10:34:50        Page 2 of 5




 1

 2

 3

 4

 5

 6

 7   Samuel A. Schwartz, Esq.
 8
     Nevada Bar No. 10985
     Connor H. Shea, Esq.
 9   Nevada Bar No. 14616
10   Brownstein Hyatt Farber Schreck, LLP
     100 North City Parkway
11   Suite 1600
12   Las Vegas, NV 89106-4614
     Telephone: 702.382.2101
13
     Facsimile: 702.382.8135
14   Attorneys for the Debtors
15
                           UNITED STATES BANKRUPTCY COURT
16
                                  DISTRICT OF NEVADA
17

18
     In re:                                        )   Lead Case No.: 18-10792-LEB
                                                   )
19   Lucky Dragon Hotel & Casino, LLC,             )   Joint Administration with:
20                                                 )
                      Debtor,                      )   Case No.:      18-10850-LEB
21   In re:                                        )
22                                                 )   Chapter 11
     Lucky Dragon, LP                              )
23
                       Debtor.                     )   Hearing Date: November 20, 2018
24   ____________________________________          )   Hearing Time: 9:30 a.m.
25
                       ORDER GRANTING FIRST AND FINAL
26         STATEMENT OF SERVICES RENDERED AND EXPENSES INCURRED OF
         INNOVATION CAPITAL, LLC AS FINANCIAL ADVISOR FOR THE DEBTORS
27

28

29

30

31

32




                                               1
     17644165.1
            Case 18-10792-mkn        Doc 903-1     Entered 10/22/18 10:34:50       Page 3 of 5




 1             Upon consideration of the Fee Application (the “Fee Application”)1 of Innovation
 2
     Capital, LLC (“Innovation”) for Allowance of Compensation for Services Rendered and
 3
     Reimbursement of Expenses Incurred as Financial Advisors for the Debtors for the period of
 4

 5   April 9, 2018, through October 3, 2018 (the “Compensation Period”), and it appearing that
 6
     proper and adequate notice of the Application has been given and that no other further notice is
 7

 8
     necessary; and all objections to the Application having been resolved or overruled at the hearing

 9   on the Application; and it appearing that the compensation requested is reasonable and a benefit
10
     to this estate, it is hereby:
11

12             ORDERED that the Fee Application is hereby APPROVED; and it is further
13
               ORDERED that the request contained within the Application, and the same are hereby,
14
     approved, including professional compensation in the amount of $12,500.00 for the Monthly
15

16   Retainer Fee payment unpaid for the month of September 2018; and it is further
17
               ORDERED that the request contained within the Application, and the same are hereby,
18

19   approved, including reimbursement of actual and necessary expenses in the amount of
20   $3,146.89; and it is further
21
               ORDERED that the request contained within the Application, and the same are hereby,
22

23   approved, including allowance of the M&A Transaction Fee in the amount of $350,000.00
24
     (with credit for 100% or $75,000.00 of the Monthly Retainer Fee amounts, including the unpaid
25

26
     September 2018 Monthly Retainer Fee) resulting in a net fee payable of $275,000.00; and it is

27   further
28

29

30   \\\
31
     1
32           Any capitalized term not expressly defined herein shall have the meaning ascribed to
     that term in the Application.

                                                     2
     17644165.1
           Case 18-10792-mkn          Doc 903-1   Entered 10/22/18 10:34:50   Page 4 of 5




 1           ORDERED that the Court shall retain jurisdiction to hear and determine all matters
 2
     relating to the entry of this Order.
 3

 4

 5   Submitted by:
 6
     Brownstein Hyatt Farber Schreck, LLP
 7

 8
     By /s/ Samuel Schwartz
     Samuel A. Schwartz, Esq.
 9   Nevada Bar No. 10985
10   Connor H. Shea, Esq.
     Nevada Bar No. 14616
11   Brownstein Hyatt Farber Schreck, LLP
12   100 North City Parkway
     Suite 1600
13
     Las Vegas, NV 89106-4614
14   Telephone: 702.382.2101
     Facsimile: 702.382.8135
15
     Attorneys for the Debtors
16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

31

32




                                                   3
     17644165.1
           Case 18-10792-mkn            Doc 903-1   Entered 10/22/18 10:34:50       Page 5 of 5




 1           SUBMISSION TO COUNSEL FOR APPROVAL PURSUANT TO LR 9021
 2          In accordance with LR 9021, counsel submitting this document certifies that the order
 3
            accurately reflects the court’s ruling and that (check one):
 4

 5          _____ The court has waived the requirement set forth in LR 9021(b)(1).
 6
                  No party appeared at the hearing or filed an objection to the motion.
 7
                     I have delivered a copy of this proposed order to all counsel who appeared at the
 8

 9          hearing, and any unrepresented parties who appeared at the hearing, and each has
10
            approved or disapproved the order, or failed to respond, as indicated below [list each
11

12          party and whether the party has approved, disapproved, or failed to respond to the
13          document]:
14
            _____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
15

16          order with the motion pursuant to LR 9014(g), and that no party has objected to the form
17
            or content of this order.
18

19
            APPROVED:

20          DISAPPROVED:
21
            FAILED TO RESPOND:
22

23   Submitted by:
24
     Brownstein Hyatt Farber Schreck, LLP
25
     By /s/ Samuel Schwartz
26
     Samuel A. Schwartz, Esq., Nevada Bar No. 10985
27   Connor H. Shea, Esq., Nevada Bar No. 14616
28
     100 North City Parkway Suite 1600
     Attorneys for the Debtors
29

30

31

32




                                                      4
     17644165.1
